                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )
               v.                                    )       No. 13-00335-05-CR-W-DGK
                                                     )
NICOLAS P. JUSZCYZK,                                 )
                                                     )
               Defendant.                            )

                            ACCEPTANCE OF PLEA OF GUILTY AND
                                 ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of the United States Magistrate Judge (Doc.

120), to which there has been no objection, the Defendant’s plea of guilty to Count One contained in

the Indictment filed on September 26, 2013, is now accepted and the Defendant is adjudged guilty of

such offense. The Court notes that its acceptance of Defendant’s guilty plea is conditional; the

Court may reject the plea agreement at sentencing after reviewing the Presentence Investigation

Report. Sentencing will be set by subsequent order of the Court.


                                                      /s/ Greg Kays
                                                     GREG KAYS, CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT

Dated: September 24, 2014




       Case 4:13-cr-00335-DGK          Document 122        Filed 09/24/14      Page 1 of 1
